Case 3:19-cv-00353-BJD-PDB Document 32 Filed 06/28/19 Page 1 of 9 PageID 182




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA

  ERIC BREINES AND ANDREW                             Case No. 3:19-cv-00353-BJD-PDB
  PERRONG, individually, and on behalf of all
  others similarly situated,

                  Plaintiffs,

  v.

  PRO CUSTOM SOLAR LLC, D/B/A
  MOMENTUM SOLAR, a New Jersey
  company,

                  Defendant.


             PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S
              MOTION TO TEMPORARILY STAY DISCOVERY AND/OR
               TO BIFURCATE INDIVIDUAL AND CLASS DISCOVERY

       The Court should deny Momentum Solar’s motion in total. A stay pending a ruling on

Momentum Solar’s motion to dismiss is unwarranted because (1) the motion to dismiss lacks

merit and is unlikely to be granted, and (2) a stay would prejudice Plaintiffs because of the risk

of loss of relevant evidence during its pendency. Bifurcating merits and class discovery is also

unwarranted because (1) the overlap between merits and class discovery defeats the potential for

efficiency in the event of bifurcation, (2) as with a stay pending the motion to dismiss, the delay

in taking class discovery would be prejudicial because of the risk of loss of relevant evidence,

and (3) a ruling as to the merits of Plaintiffs’ claims before class certification would run afoul of

the one-way intervention doctrine.

       I.      FACTS

       In this action, Plaintiffs assert three distinct claims under the Telephone Consumer

Protection Act arising from telemarketing calls made by or on behalf of Momentum Solar: the

first claim for making calls using a prerecorded voice; the second claim for making calls using an
Case 3:19-cv-00353-BJD-PDB Document 32 Filed 06/28/19 Page 2 of 9 PageID 183




autodialer; and the third claim for making telemarketing calls without maintaining adequate

policies and procedures for maintaining an internal list of consumers who request not to be

called. Plaintiffs seek to certify a class in connection with each of these claims.

          To obtain class certification and prevail on each of these claims, Plaintiffs must

demonstrate that they were called in substantially the same way and for substantially the same

reason as other class members. For the prerecorded voice claim, Plaintiff Perrong must establish

that he and others were called with a prerecorded voice soliciting their purchase of solar products

or services. For the autodialer claim, Plaintiff Breines must establish that he and others were

called with an autodialer soliciting their purchase of solar products or services. And for the

internal do not call list claim, Plaintiff Perrong must establish that, at the time of Momentum

Solar’s calls to him and other consumers, Momentum Solar lacked adequate policies or

procedures for maintaining an internal do not call list. Accordingly, who is in the class is

contingent on how and why there were called, resulting in significant overlap between the

discovery necessary to establish the merits of Plaintiffs’ claims and the viability of class

certification.

          II.    A Stay of Discovery Pending A Motion to Dismiss Ruling Is Not Warranted
                 Because Momentum Solar’s Motion to Dismiss Is Unlikely to be Granted and
                 Plaintiffs will be Prejudiced by a Stay.
          A defendant seeking a stay pending ruling on a motion to dismiss “has the burden of

showing good cause and reasonableness.” Holsapple v. Strong Indus., Case No. 2:12-cv-355-

UA-SPC, 2012 U.S. Dist. LEXIS 128009, at *2 (M.D. Fla. Sept. 10, 2012); see Clinton v. Jones,

520 U.S. 681, 708 (1997) (a defendant must demonstrate an actual “need” for a stay). 1 In

deciding whether to grant a stay, the district court “must balance the harm produced by a delay in

discovery” and take a “preliminary peek” at the defendant’s motion “to see if on its face there



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    Internal citation and annotations omitted throughout.
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Case 3:19-cv-00353-BJD-PDB Document 32 Filed 06/28/19 Page 3 of 9 PageID 184




appears to be an immediate and clear possibility that it will be granted.” S. HVAC Corp. v.

Konforte, No. 6:18-cv-1589-Orl-37TBS, 2018 U.S. Dist. LEXIS 198274, at *1-3 (M.D. Fla.

Nov. 21, 2018) (emphasis supplied). If “after reviewing the motion to dismiss and Plaintiffs’

response, the Court is not persuaded that ‘there appears to be an immediate and clear possibility

that’ Defendant’s motion will be granted,” it should deny the motion to stay discovery. Adacel,

Inc. v. Adsync Techs., Inc., No. 6:18-cv-1176-Orl-18TBS, 2018 U.S. Dist. LEXIS 199435, at *4-

5 (M.D. Fla. Nov. 26, 2018).

        Here, a review of Momentum Solar’s motion to dismiss and Plaintiffs’ response, makes it

immediately clear that Momentum Solar’s motion is not likely to be granted. Specifically,

Plaintiffs state claims under the Telephone Consumer Protection Act’s autodialer, prerecorded

voice, and do not call list provisions.

        First, Plaintiffs sufficiently allege that Momentum Solar is directly liable for the calls

they received because Plaintiffs were contacted directly by Momentum Solar. Among other

allegations, Plaintiff Breines specifically states that the individual that called “identified

themselves as Momentum Solar.”

        Second, Plaintiffs sufficiently allege receiving prerecorded and autodialed calls. With

regard to the use of a prerecorded message, Plaintiff Perrong unequivocally alleges that during

the first call he received from Momentum Solar he heard a prerecorded voice message

advertising solar services. With regard to the use of an autodialer, both Plaintiffs allege facts and

circumstances surrounding the calls they received from Momentum Solar sufficient to raise a

plausible inference that an autodialer was used, including that the calls were commercial and

generic, that they were made without consent, that they were received from a “spoofed” number

that was not in service, that there was a long pause and/or popping sound at the start of the call,

and that the calls were incessant.

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Case 3:19-cv-00353-BJD-PDB Document 32 Filed 06/28/19 Page 4 of 9 PageID 185




       Third, Plaintiff Perrong sufficiently alleges a claim arising from Momentum Solar’s

failure to implement sufficient procedures for maintaining an internal list of consumers who

request not to be called for which the TCPA specifically provides a private right of action. It is a

question for the trier of fact whether the multiple week delay in ceasing calls to Plaintiff Perrong

after he requested to be placed on Momentum Solar’s internal do not call list – and during which

time Momentum Solar called him an additional 20 times – was reasonable, and whether, as a

result, Momentum Solar’s policies were sufficient. Accordingly, it is unlikely that Momentum

Solar’s motion to dismiss, on which its motion to stay is predicated, will be granted.

       Moreover, regardless of the likelihood of Momentum Solar prevailing on its motion,

Plaintiffs will be prejudiced by a stay. If, for example, it is ultimately determined that the calls

Plaintiffs received regarding Momentum Solar’s products and services were in fact made by third

party marketers for whose conduct Momentum Solar may be vicariously liable, as Momentum

Solar appears to insinuate in its motion to dismiss, any stay related delay amplifies the risk that

non-parties to this action may destroy or otherwise lose relevant evidence. See Saleh v. Crunch,

LLC, No. 17-62416-Civ-COOKE/HUNT, 2018 U.S. Dist. LEXIS 36764, at *5 (S.D. Fla. Feb. 28,

2018) (denying a stay in a TCPA case and noting that the “fading memory of any witness” is

prejudicial). Specifically, although TCPA claims are governed by the four year federal statute of

limitations in 28 U.S.C. §1658(a), not all telecommunications companies or other telemarketing

companies keep records of telephone activities for up to four years. Without an immediate

gathering of records, the likelihood of destruction of this evidence increases with each passing day.

Many of the major telecommunications providers will only retain call record information for 12-

18 months, and presumably smaller telecommunications providers keep this information for an

even shorter period of time. Accordingly, needless delay of discovery may thwart Plaintiffs’

ability to discover class information maintained by third parties, which may not have a duty to

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Case 3:19-cv-00353-BJD-PDB Document 32 Filed 06/28/19 Page 5 of 9 PageID 186




preserve the information pending litigation, and will prejudice Plaintiffs. In contrast, the only risk

to Momentum Solar if a stay is not granted is having to respond to discovery, which is not

prejudicial.   See MAO-MSO Recovery II, LLC v. USAA Cas. Ins. Co., No. 17-21289-Civ-

WILLIAMS/TORRES, 2017 U.S. Dist. LEXIS 205650, at *8 (S.D. Fla. Dec. 14, 2017) (denying

motion to stay and/or phase discovery and explaining that “the party seeking the protective order

must show good cause by demonstrating a particular need for protection because broad allegations

of harm, unsubstantiated by specific examples or articulated reasoning, do not satisfy the Rule

26(c) test.”) (emphasis in original).

       Under these circumstances, where Plaintiffs have asserted viable claims and face

potential prejudice from a stay, the balance tips heavily in favor of denying Momentum Solar’s

request for a stay. This conclusion is underscored by the cases Momentum Solar relies on in its

motion.

       For example, in Chudasama, the plaintiffs brought a claim under a novel and “dubious”

legal theory. Chudasama v. Mazda Motor Corp., 123 F.3d 1353, 1359 n.12, 1369 n.39 (11th Cir.

1997). This novel and dubious claim “substantially widened the scope of discovery.” Id. at

1360. In evaluating the district court’s refusal to rule on the motion to dismiss or grant a stay, the

Eleventh held only that “any legally unsupported claim that would unduly enlarge the scope of

discovery should be eliminated before the discovery stage, if possible.” Id. at 1368. Here,

Plaintiffs’ claims are not novel or dubious, and Momentum Solar challenges only the sufficiency

of Plaintiffs’ factual allegations, and not the validity of Plaintiffs’ legal theory. See In re Winn

Dixie Stores, Inc., 2007 U.S. Dist. LEXIS 47014, at *4-7 (M.D. Fla. June 28, 2007) (“By

focusing on the obviousness of the failure of the questioned claims …, the Eleventh Circuit made

clear that discovery should be stayed pending the outcome of a motion to dismiss where a court

is confident that the motion will ultimately be successful.”).

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Case 3:19-cv-00353-BJD-PDB Document 32 Filed 06/28/19 Page 6 of 9 PageID 187




       The Court should therefore deny Momentum Solar’s motion to stay pending a ruling on

its motion to dismiss.

       III.    Bifurcating Merits and Class Discovery Will Not Promote Judicial
               Efficiency, Is Prejudicial, and Violates the One-Way Intervention Rule
       To grant a request to bifurcate discovery, the movant must establish that relief is

necessary for “convenience, to avoid prejudice, or to expedite and economize.” See Charvat v.

Plymouth Rock Energy, LLC, No. 15-CV-4106, 2016 U.S. Dist. LEXIS 6778, at *3-4 (E.D.N.Y.

Jan. 12, 2016) (denying motion to bifurcate merits and class discovery in TCPA action). “The

moving party bears the burden of establishing” that the relief “is appropriate.” Id. at *5. Here,

Momentum Solar’s request to bifurcate discovery should be denied for at least three reasons.

       First, because of the overlap between discovery regarding the merits of Plaintiffs’ claims

and class certification, Defendant’s request to bifurcate discovery will not promote judicial

efficiency or a prompt resolution of the case. To the contrary, bifurcation will unnecessarily

delay the action, prejudicing Plaintiffs and the putative classes, by requiring the Court to resolve

the parties’ anticipated disagreement as to bright-line between merits and class certification

discovery. Charvat, 2016 U.S. Dist. LEXIS 6778 at *6 (“In fact, bifurcation would have the

opposite effect.”). Under these circumstances, district courts in this Circuit regularly refuse to

bifurcate discovery. See, e.g., MAO-MSO Recovery II, LLC, 2017 U.S. Dist. LEXIS 205650, at

*16 (“we decline to exercise our discretion to phase discovery because the issues surrounding

standing, merits, and class certification may be inextricably tied together, and may therefore

require more — not less — judicial intervention to resolve the parties’ disagreements”); Tillman

v. Ally Fin. Inc., No. 2:16-cv-313-FtM-99CM, 2016 U.S. Dist. LEXIS 140950, at *10 (M.D. Fla.

Oct. 12, 2016) (same); Cabrera v. Gov’t Emples. Ins. Co., No. 12-61390-CIV, 2014 U.S. Dist.

LEXIS 90810, at *23 (S.D. Fla. July 3, 2014) (same); Lakeland Reg’l Med. Ctr. v. Astellas US,

LLC, No. 8:10-cv-2008-T-33TGW, 2011 WL 486123, at *2 (M.D. Fla. 2011) (“The Court is not

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Case 3:19-cv-00353-BJD-PDB Document 32 Filed 06/28/19 Page 7 of 9 PageID 188




persuaded that phased discovery will conserve the resources of the parties or the Court. This is

because the line between ‘class issues’ and ‘merits issues’ is practically difficult, if not

impossible, to determine.”). As the Advisory Committee on the Federal Rules has warned,

bifurcation generally is “artificial and ultimately wasteful.” Fed, R. Civ. P. 23(c)(1)(a) Notes of

Advisory Committee on Rules—2003 Amendments. Bifurcated discovery in this case will only

result in needless conflict, more work for the Court, and unnecessary delay.

       Second, bifurcation of discovery is prejudicial to Plaintiffs’ discovery of class

information from third parties, and amplifies the risk that evidence will be lost or destroyed.

Saleh, 2018 U.S. Dist. LEXIS 36764, at *5 (denying a stay in a TCPA case and noting that the

“fading memory of any witness” is prejudicial).

       Third, Defendant’s proposed sequencing of this action violates the one-way intervention

rule and provides an independent basis to deny the requested bifurcation. “‘One-

way intervention’ occurs when the potential members of a class action are allowed to ‘await . . .

final judgment on the merits in order to determine whether participation [in the class] would be

favorable to their interests.’” Am. Pipe & Constr. Co. v. State of Utah, 414 U.S. 538, 547, 94 S.

Ct. 756, 763, 38 L. Ed. 2d 713 (1974). Rule 23(c)(2)’s requirement that, in opt-out class actions,

notice be given to all class members as soon as practicable was intended by Congress to

prevent one-way intervention.” London v. Wal-Mart Stores, Inc., 340 F.3d 1246, 1252-53 (11th

Cir. 2003) (additional internal citation omitted). “Determining the merits of a putative class

action, for example, in a motion for summary judgment, prior to determining the preliminary

question of class certification can violate the rule against one-way intervention.” Licari Fam.

Chiropractic Inc. v. eClinical Works, LLC, No. 8:16-cv-3461-MSS-JSS, 2019 U.S. Dist. LEXIS

104634, at *2 (M.D. Fla. Feb. 26, 2019) (denying motions for summary judgment without

prejudice). In keeping with this rule, courts have held that, in general, issues relating to class

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Case 3:19-cv-00353-BJD-PDB Document 32 Filed 06/28/19 Page 8 of 9 PageID 189




certification should be decided before a decision on the merits is rendered. Id., at *3 (internal

citation omitted). 2 Therefore, Momentum Solar’s request to sequence merits discovery before

class discovery unnecessarily violates the one-way intervention doctrine.

       The bifurcation of discovery Momentum Solar demands will likely promote inefficiency,

result in the loss of relevant evidence, and violate the one-way intervention doctrine. The Court

should therefore deny Momentum Solar’s motion to bifurcate discovery.

       IV.     Conclusion

       Neither a stay pending a ruling on Momentum Solar’s motion to dismiss nor bifurcation

of discovery is warranted. Neither will ultimately promote efficiency or a prompt resolution of

this action, and both are likely to prejudice Plaintiffs. The Court should therefore deny

Momentum Solar’s motion in all respects.

                                              Respectfully Submitted,


Dated: June 28, 2019                           /s/ Avi Kaufman
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                                              Counsel for Plaintiffs and all others similarly
                                              situated




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  Moreover, the issues that Momentum proposes be decided at summary judgment are common
issues to the class, not merely issues particular to Plaintiffs. “There is authority that when a
district court decides a motion for summary judgment before a class has been certified, that
decision will not bind putative class members.” Mendez v. Radec Corp., 260 F.R.D. 38, 46
(W.D.N.Y. 2009). Accordingly, the sequencing proposed by Defendant is inefficient and
improper.
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Case 3:19-cv-00353-BJD-PDB Document 32 Filed 06/28/19 Page 9 of 9 PageID 190




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 28, 2019, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF, which is being served this day on all counsel of record

via transmission of Notice of Electronic Filing generated by CM/ECF.



                                                    /s/ Avi R. Kaufman




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